    Case 1:15-cv-22463-MGC Document 72-2 Entered on FLSD Docket 02/17/2016 Page 1 of 1

&ƌŽŵ͗WĞŐŐ͕ůůĞŶW͘΀ŵĂŝůƚŽ͗ĂůůĞŶ͘ƉĞŐŐΛŚŽŐĂŶůŽǀĞůůƐ͘ĐŽŵ΁
^ĞŶƚ͗tĞĚŶĞƐĚĂǇ͕:ĂŶƵĂƌǇϮϳ͕ϮϬϭϲϵ͗ϯϭWD
dŽ͗ΖƌĂĚǇŽďďΖфďĐŽďďΛŽďďĚĚǇ͘ĐŽŵх͖^ƉĞŶĐĞƌ&ƌĞĞŵĂŶфƐĨƌĞĞŵĂŶΛĨƌĞĞŵĂŶůĂǁĨŝƌŵ͘ŽƌŐх͖ǀĂŶ&ƌĂǇͲ
tŝƚǌĞƌфǀĂŶΛĐĨǁůĞŐĂů͘ĐŽŵх
Đ͗ĂƌŽŶĞŚĂƌфĂďΛďĞŚĂƌďĞŚĂƌ͘ĐŽŵх͖KΖ^ƵůůŝǀĂŶ͕:ŽŚŶ&͘фũŽŚŶ͘ŽƐƵůůŝǀĂŶΛŚŽŐĂŶůŽǀĞůůƐ͘ĐŽŵх͖^ƚĞƌŶďĞƌŐ͕
:ĂƐŽŶ͘фũĂƐŽŶ͘ƐƚĞƌŶďĞƌŐΛŚŽŐĂŶůŽǀĞůůƐ͘ĐŽŵх͖:ĂƐŽŶ,ŽůŵĂŶфũŚΛďĞŚĂƌďĞŚĂƌ͘ĐŽŵх
^ƵďũĞĐƚ͗Z͗ĐƚŝǀŝƚǇŝŶĂƐĞϭ͗ϭϱͲĐǀͲϮϮϰϲϯͲD',ǇĚĞŶƚƌĂ,>W/Ŷƚ͘>ŝŵŝƚĞĚǀ͘DĂǆŝŵƵŵƉƉƐ/ŶĐ͘ĞƚĂůtŝƚŶĞƐƐ
>ŝƐƚ
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^ƉĞŶĐĞƌĂŶĚĂƌŽŶ͕
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^ŽƌƌǇĨŽƌǁĞŝŐŚŝŶŐŝŶĂďŝƚůĂƚĞŽŶƚŚŝƐ͕ďƵƚ/ǁĂƐƚƌĂǀĞůŝŶŐƚŽĚĂǇĂŶĚƚŚĞŶŶĞĞĚĞĚƐŽŵĞƚŝŵĞƚŽƌĞǀŝĞǁƚŚŝŶŐƐĂŶĚ
ĐŽŵĞƵƉƚŽƐƉĞĞĚ͘/ŚĂǀĞƚŚĞĨŽůůŽǁŝŶŐŽďƐĞƌǀĂƚŝŽŶƐ͕ĂŶĚǁŽƵůĚƐƵŐŐĞƐƚƚŚĂƚǁĞĂůů;ǇŽƵƚǁŽ͕ǀĂŶ͕ƌĂĚǇ͕ĂŶĚ
ŵĞͿŐĞƚŽŶĂĐĂůůǁŚĞŶƉŽƐƐŝďůĞƚŽŵŽƌƌŽǁƚŽĚŝƐĐƵƐƐĂƉĂƚŚĨŽƌǁĂƌĚ͘
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&ŝƌƐƚ͕ŶŽŶĞŽĨƚŚĞĐŽƵŶƐĞůĨŽƌůŽǀĞƌŚĂĚƚŚĞƐĞĚĞƉŽƐŝƚŝŽŶƐŽŶŽƵƌĐĂůĞŶĚĂƌƐ͘/ŶŽǁƵŶĚĞƌƐƚĂŶĚǁŚǇƚŚŝƐůŝŬĞůǇŝƐ
ƚŚĞĐĂƐĞ͗ĂůƚŚŽƵŐŚǁĞŚĂǀĞƚŚƌĞĞůĂǁǇĞƌƐŽŶƚŚŝƐĨŝůĞ͕ĂůůŽĨǁŚŽŵƚŚĞK^ŽŶƚŚĞůŽǀĞƌŶŽƚŝĐĞƐĂǇƐǁĞƌĞďĞŝŶŐ
ƐĞƌǀĞĚǁŝƚŚƚŚĞŶŽƚŝĐĞ͕ƚŚĂƚǁĂƐŶŽƚŝŶĨĂĐƚĚŽŶĞ͘ZĂƚŚĞƌ͕ŽŶůǇ/ĂƉƉĞĂƌƚŽŚĂǀĞďĞĞŶƐĞƌǀĞĚǁŝƚŚƚŚĞŶŽƚŝĐĞ͕ĂŶĚ
/ŚĂǀĞŶŽƌĞĐŽůůĞĐƚŝŽŶŽĨƚŚĂƚĂŶĚĂƉƉĂƌĞŶƚůǇĚŝĚŶŽƚĨŽƌǁĂƌĚƚŽƚŚĞƚĞĂŵ͘dŚƵƐ͕ǇŽƵĚŝĚŶŽƚƐĞƌǀĞǁŚŽƐŚŽƵůĚ
ŚĂǀĞďĞĞŶƐĞƌǀĞĚ͘WůĞĂƐĞďĞƐƵƌĞĂůůĐŽƵŶƐĞůǁŚŽŚĂǀĞĂƉƉĞĂƌĞĚĨŽƌůŽǀĞƌĂƌĞƉƌŽƉĞƌůǇƐĞƌǀĞĚĨŽƌĂůůĨƵƚƵƌĞ
ŝƚĞŵƐŽĨƐĞƌǀŝĐĞ͘
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^ĞĐŽŶĚ͕/ĞŵĂŝůĞĚǇŽƵ͕^ƉĞŶĐĞƌ͕ŽŶ:ĂŶƵĂƌǇϭϱ͕ůĞƚƚŝŶŐǇŽƵŬŶŽǁƚŚĂƚĂƐƐĞƚŽƵƚŝŶůŽǀĞƌ͛ƐƉĞŶĚŝŶŐDd͕ůŽǀĞƌ͛Ɛ
ƉŽƐŝƚŝŽŶŝƐƚŚĂƚĚƵĞƚŽƚŚĞũƵƌŝƐĚŝĐƚŝŽŶĂůĂŶĚƐĞƌǀŝĐĞƉƌŽďůĞŵƐƉƌĞƐĞŶƚŚĞƌĞ͕ůŽǀĞƌŝƐŶŽƚĂƉƌŽƉĞƌ
ĚĞĨĞŶĚĂŶƚŝŶƚŚŝƐĂĐƚŝŽŶĂŶĚƚŚƵƐƐŚŽƵůĚŶŽƚďĞŽďůŝŐĂƚĞĚŝŶĂŶǇǁĂǇƚŽƉĂƌƚŝĐŝƉĂƚĞŝŶƚŚŝƐƉƌŽĐĞĞĚŝŶŐĂƐŝƚŝƐ
ĞƐƐĞŶƚŝĂůůǇĂŶŽŶͲƉĂƌƚǇ͘zŽƵǁƌŽƚĞďĂĐŬƚŚĂƚǇŽƵ͞ƵŶĚĞƌƐƚŽŽĚ͘͟'ŝǀĞŶƚŚŝƐĂŐƌĞĞŵĞŶƚ͕/ǁŽƵůĚŝŵĂŐŝŶĞǇŽƵĂƌĞ
ŶŽƚƚĂŬŝŶŐƚŚĞƉŽƐŝƚŝŽŶƚŚĂƚůŽǀĞƌǁŽƵůĚďĞŽďůŝŐĂƚĞĚƚŽĂƉƉĞĂƌŽŶ&ƌŝĚĂǇ͕ďƵƚƉůĞĂƐĞůĞƚŵĞŬŶŽǁ͘
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dŚŝƌĚ͕ůŽǀĞƌŝƐŶĞŝƚŚĞƌĂ&ůŽƌŝĚĂĐŽŵƉĂŶǇŶŽƌĚŽĞƐŝƚŚĂǀĞŝƚƐƉƌŝŶĐŝƉĂůƉůĂĐĞŽĨďƵƐŝŶĞƐƐŝŶ&ůŽƌŝĚĂ͘ŶĚůŽǀĞƌ
ŽďǀŝŽƵƐůǇŚĂƐŶŽƚĂǀĂŝůĞĚŝƚƐĞůĨŽĨƚŚĞƉŽǁĞƌŽĨƚŚŝƐũƵƌŝƐĚŝĐƚŝŽŶƚŚƌŽƵŐŚƚŚĞĂƐƐĞƌƚŝŽŶŽĨĂĐŽƵŶƚĞƌĐůĂŝŵ͘'ŝǀĞŶ
ƚŚĞƐĞĨĂĐƚƐ͕ŝĨĂŶǇĚĞƉŽƐŝƚŝŽŶǁĞƌĞƚŽŽĐĐƵƌ͕ǇŽƵǁŽƵůĚŶĞĞĚƚŽƚƌĂǀĞůƚŽůŽǀĞƌ͛ƐƌĞƉƌĞƐĞŶƚĂƚŝǀĞ͕ƌĂƚŚĞƌƚŚĂŶǀŝĐĞ
ǀĞƌƐĂ͕ƐŽƚŚĞŶŽƚŝĐĞ͕ǁŚŝĐŚƉƵƌƉŽƌƚƐƚŽƌĞƋƵŝƌĞƐƵĐŚĂƉƉĞĂƌĂŶĐĞŝŶƚŚŝƐĚŝƐƚƌŝĐƚ͕ŝƐĨĂĐŝĂůůǇŝŶǀĂůŝĚ͘
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&ŽƵƌƚŚ͕ƚŚĞŶŽƚŝĐĞƐĂĐƚƵĂůůǇƉƌĞĐĞĚĞĚŽƵƌĨŝůŝŶŐŽĨĂ:ŽŝŶƚDŽƚŝŽŶƚŽ^ƚĂǇůůŝƐĐŽǀĞƌǇ͘dŚƵƐ͕ŝŶĂůůĞǀĞŶƚƐ͕/ƚŚŝŶŬ
ƚŚĞƉŽƐŝƚŝŽŶƚĂŬĞŶŝŶƚŚĂƚŵŽƚŝŽŶǁŽƵůĚƐƵƉĞƌƐĞĚĞĂŶǇĂƉƉĂƌĞŶƚůǇĞĂƌůŝĞƌͲŝƐƐƵĞĚĚŝƐĐŽǀĞƌǇŶŽƚŝĐĞƐ͘
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ƐŵĞŶƚŝŽŶĞĚ͕ƚŚĞƐĞĂƌĞŵǇŝŶŝƚŝĂůŽďƐĞƌǀĂƚŝŽŶƐŽŶǁŚĂƚ͛ƐƚƌĂŶƐƉŝƌĞĚƚŽĚĂǇ͘ƌĞǇŽƵƚǁŽ͕ǀĂŶ͕ĂŶĚƌĂĚǇ
ĂǀĂŝůĂďůĞĨŽƌĂĐĂůůƚŽŵŽƌƌŽǁĂƌŽƵŶĚϵͬϵ͗ϭϱĂŵ͍
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ůůĞŶW͘WĞŐŐ
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